              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 1 of 8




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             MARIA BEJAR,                      :    MOTION TO VACATE
             BOP No. 61352-019,                :    28 U.S.C. § 2255
                  Movant,                      :
                                               :    CIVIL ACTION NO.
                  v.                           :    1:11-CV-633-CAP-ECS
                                               :
             UNITED STATES OF AMERICA,         :    CRIMINAL ACTION NO.
                  Respondent.                  :    1:09-CR-454-CAP-ECS

                               FINAL REPORT AND RECOMMENDATION

                  This matter is before the Court on Maria Bejar’s pro se Motion

             Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by

             a Person in Federal Custody [Doc. No. 172], the government’s

             response [Doc. No. 179], and Bejar’s reply [Doc. No. 186]. For the

             following reasons, the undersigned recommends that Bejar’s § 2255

             motion be dismissed and that no certificate of appealability be

             issued.

                  In 2009, Bejar and others were indicted for serious drug,

             money laundering, and firearms crimes.       See [Doc. Nos. 1, 38].   In

             2010, Bejar entered into a thirteen-page negotiated plea agreement.

             See [Doc. No. 138-1].    One of the terms of that plea agreement was

             a limited waiver of appeal.     That waiver provided:

                       To the maximum extent permitted by federal law, the
                       Defendant voluntarily and expressly waives the right
                       to appeal her conviction and sentence and the right to
                       collaterally attack her conviction and sentence in any
                       post-conviction proceeding (including, but not limited
                       to, motions filed pursuant to 28 U.S.C. § 2255) on any
                       ground, except that the Defendant may file a direct
                       appeal of an upward departure or a variance from the




AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 2 of 8




                       sentencing guideline range calculated by the district
                       court.    The Defendant understands that this Plea
                       Agreement does not limit the Government’s right to
                       appeal, but if the Government initiates a direct
                       appeal of the sentence imposed, the Defendant may file
                       a cross-appeal of that same sentence.

             [Id. at 11].        Bejar also signed a separate acknowledgment that she

             had “discussed with [her] attorney the rights [she] may have to

             appeal    or    challenge      [her]    conviction    or    sentence,   and    [she

             understood] that the appeal waiver contained in the Plea Agreement

             [would] prevent [her], with the narrow exceptions stated, from

             appealing [her] conviction and sentence in any post-conviction

             proceeding.”        [Id. at 13].

                     At her guilty plea hearing, Bejar was specifically questioned

             about    the    waiver   of    appeal    (including       the   collateral   attack

             waiver), and she specifically stated that he understood and agreed

             to it.     See [Doc. 176 at 8-9, 17].              Bejar acknowledged that the

             plea agreement had been read to her in Spanish, as well as

             presented in writing in English. [Id. at 9]. And Bejar stated that

             she understood that any recommendation to reduce her sentence

             pursuant       to   U.S.S.G.    §5K1.1     would     be    strictly   within    the

             government’s discretion, placing her “totally at the mercy of the

             government in that regard.”            [Id. at 20].

                     Bejar did not take a direct appeal, but instead filed the

             § 2255 motion now pending before the Court shortly before the



                                                       2



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 3 of 8




             anniversary date of her sentencing.         In her § 2255 motion, Bejar

             contends that she is entitled to have her sentence vacated because:

             (1) “the Court erred in it[]s calculation of the Guidelines”;

             (2) “the Court erred in not acting with caution as to certain

             factors that would have made a difference in the outcome of this

             case”; and (3) “ineffective assistance of counsel whether or not I

             received credit for a 5K1.1 that I was entitled to.”         [Doc. No. 172

             at 4].    Bejar does not argue, however, that her entry into the plea

             agreement was unknowing or involuntary, and she expressly states

             that she “is not contesting her plea, but rather asking this Court

             to review it[]s calculation.”      [Id. at 9].

                  In    the   Eleventh   Circuit,   “sentence   appeal   waivers,   made

             knowingly and voluntarily, are enforceable.”           United States v.

             Bushert, 997 F.2d 1343, 1345 (11th Cir. 1993); see also Williams v.

             United States, 396 F.3d 1340, 1342 (11th Cir. 2005) (sentence

             appeal waiver enforced in a collateral proceeding).          “A waiver of

             the right to appeal includes a waiver of the right to appeal

             difficult or debatable legal issues - indeed, it includes a waiver

             of the right to appeal blatant error.” United States v. Howle, 166

             F.3d 1166, 1169 (11th Cir. 1999).          Such waivers are upheld where

             “(1) the district court specifically questioned the defendant

             concerning the sentence appeal waiver . . . or (2) it is manifestly

             clear from the record that the defendant otherwise understood the


                                                    3



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 4 of 8




             full significance of that waiver.”              Bushert, 997 F.2d at 1351.

             Those requirements are more than met in this case.               Bejar’s waiver

             of her right to appeal or collaterally attack her sentence is

             enforceable and should be enforced.

                   The undersigned therefore RECOMMENDS that Bejar’s § 2255

             motion be DISMISSED pursuant to the appeal/collateral attack waiver

             in her plea agreement.

                   It is not necessary, therefore, to address any of the three

             grounds for relief asserted in Bejar’s § 2255 motion on the merits.

             Nevertheless, for Bejar’s benefit and because it appears that she

             may   have    prepared    her    §   2255    motion   without    reviewing   the

             sentencing transcript, see, e.g., [Doc. No. 186 at 2 (“Defendant is

             confused as to defendant’s base offense level.”)], the undersigned

             notes the following.

                   The Presentence Investigation Report (“PSR”) presented at

             Bejar’s sentencing stated that her offense level was 39, her

             criminal history category was I, and her “custody guideline range

             [was] 262 to 327 months.”            See [Sealed Document at 18].        Bejar’s

             counsel objected to the application of a firearm-related adjustment

             under U.S.S.G. §2D1.1(b)(1), the calculation of the drug quantity

             for   which    Bejar     was    being   held   responsible      under   U.S.S.G.

             §2D1.1(c), and Bejar’s eligibility for the “safety-valve” under

             U.S.S.G. §§2D1.1(b)(11) & 5C1.2.               [Id. at 19].      After hearing

                                                      4



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 5 of 8




             argument from the parties, the Court computed Bejar’s offense level

             and sentenced her as follows:

                   Granting Bejar’s objection as to drug quantity, the Court

             found that Bejar’s base offense level should be 36, not 39.            See

             [Doc. No. 177 at 10].       The Court denied Bejar’s objection with

             respect   to   the   U.S.S.G.   §2D1.1(b)   two-level   enhancement    for

             constructively possessing a firearm, see [id. at 8, 10], but

             granted her a two-level reduction under the U.S.S.G. §2D1.1(b)(11)

             “safety-valve” because she did not actually possess the firearm,

             see [id. at 11].     At that point, Bejar’s offense level remained at

             36.   Because Bejar pled guilty to and was convicted of a count

             under 18 U.S.C. § 1956, the Court applied a two-level enhancement

             per U.S.S.G. §2S1.1(b)(2)(B), raising her offense level to 38.

             [Id. at 12].     The government recommended that Bejar receive a

             three-level reduction for acceptance of responsibility, which the

             Court granted, making her offense level 35. [Id.]. At that point,

             Bejar’s custody guideline range was 168 to 210 months. [Id.].           The

             government then sought a downward departure pursuant to U.S.S.G.

             §5K1.1 for substantial assistance and specifically recommended a

             one-level departure that would make her offense level 34 and her

             custody guideline range 151 to 188 months.         [Id. at 13].       After

             Bejar’s attorney argued for a further downward departure, [id. at

             14-18], the government ultimately recommended a 151-month term of


                                                 5



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 6 of 8




             imprisonment for Bejar, [id. at 19].       The Court noted that it had

             “had in mind giving the defendant 20 years in confinement” at the

             outset of the hearing, but would, in light of the presentations by

             both Bejar’s counsel and the government, instead order that she be

             sentenced to concurrent 151-month terms on imprisonment on each of

             the two counts to which she had pled guilty.        [Id.].1

                   It is thus plain from the sentencing hearing transcript that

             all three grounds for relief that Bejar raises in her § 2255 motion

             are without foundation.     First, there was no “miscalculation” of

             Bejar’s sentence.     See [Doc. No. 172 at 4, 8].    Second, there were

             no “factors that were not considered and [were] overlooked that

             would of made a difference in the outcome of this case.” [Id. at

             7].       Third, Bejar actually received the benefit of a U.S.S.G.

             §5K1.1 motion for substantial assistance. [Id. at 4].2         Thus, even

             if Bejar’s § 2255 motion was not already subject to dismissal

             because of her collateral attack waiver, it would have to be denied

             on the merits.

                   In a § 2255 proceeding, this Court “must issue or deny a

             certificate of appealability when it enters a final order adverse

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                      Thus, Bejar’s sentence was 89 months shorter than the
             sentence the Court had considered imposing.
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                     In any event, as Bejar herself had acknowledged at her plea
             hearing, she was never “entitled” to a §5K1.1 motion, which could
             be brought or withheld in the government’s sole discretion. See
             [Doc. No. 176 at 20].
                                                 6



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 7 of 8




             to the applicant.”    28 U.S.C. foll. § 2255, Rule 11(a).        A § 2255

             movant “cannot take an appeal unless a circuit justice or a circuit

             or district judge issues a certificate of appealability under 28

             U.S.C. § 2253(c).”     Fed. R. App. P. 22(b)(1).      “A certificate of

             appealability may issue . . . only if the applicant has made a

             substantial showing of the denial of a constitutional right.”         28

             U.S.C. § 2253(c)(2).    To make a substantial showing of the denial

             of a constitutional right, a § 2255 movant must demonstrate “that

             reasonable jurists could debate whether (or, for that matter, agree

             that) the petition should have been resolved in a different manner

             or that the issues presented were adequate to deserve encouragement

             to proceed further.”      Miller-El v. Cockrell, 537 U.S. 322, 336

             (2003) (citations and quotation marks omitted); see also Jimenez v.

             Quarterman, 555 U.S. 113, 118 n.3 (2009) (“When the district court

             denies a habeas petition on procedural grounds without reaching the

             prisoner’s underlying constitutional claim . . . a certificate of

             appealability should issue only when the prisoner shows both that

             jurists of reason would find it debatable whether the petition

             states a valid claim of the denial of a constitutional right and

             that jurists of reason would find it debatable whether the district

             court was correct in its procedural ruling.”) (internal quotation

             marks omitted)).    Bejar has not demonstrated that she is entitled

             to federal habeas relief, that enforcement of the appeal/collateral


                                                 7



AO 72A
(Rev.8/82)
              Case 1:09-cr-00454-CAP-ECS Document 204 Filed 09/27/12 Page 8 of 8




             attack waiver is incorrect, or that both issues are reasonably

             debatable. The undersigned therefore RECOMMENDS that a Certificate

             of Appealability be DENIED in this case.

                  The Clerk is DIRECTED to terminate the referral of this case

             to the undersigned.

                  SO RECOMMENDED AND DIRECTED, this 25th day of September, 2012.


                                                     s/ E. Clayton Scofield III
                                                     E. CLAYTON SCOFIELD III
                                                     UNITED STATES MAGISTRATE JUDGE




                                                 8



AO 72A
(Rev.8/82)
